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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

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                                                               :     MDL Docket No. 1629
In re: NEURONTIN MARKETING,                                    :
         SALES PRACTICES AND                                   :     Master File No. 04-10981
         PRODUCTS LIABILITY LITIGATION                         :
                                                               :     Judge Patti B. Saris
---------------------------------------------------------------x
                                                               :     Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:                                      :
                                                               :
Smith v. Pfizer Inc., 1:05-cv-11515-PBS                        :
                                                               :
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              DECLARATION OF ANDREW G. FINKELSTEIN, ESQ.
     IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

                                  EXHIBIT 12 (CORRECTED)

Dated: March 9, 2009

                                                              /s/ Andrew G. Finkelstein
                                                              Andrew G. Finkelstein, Esquire
                                                              Finkelstein & Partners, LLP
                                                              Attorneys for Plaintiff Ruth Smith
                                                              1279 Route 300, P.O. Box 1111
                                                              Newburgh, NY 12551


                                      CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order No. 3 on March 9, 2009.


                                                              /s/ Andrew G. Finkelstein
                                                              Andrew G. Finkelstein, Esquire
